                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                               ASHEVILLE DIVISION

Teri Lynn Hinkle,                               §
                                                §
               Plaintiff,                       §
                                                §
       v.                                       §            Case No. 1:18-CV-00007
                                                §
Experian Information Solutions, Inc.;           §
TransUnion LLC; Equifax, Inc.,                  §
                                                §
               Defendants.                      §
                                                §
                                                §
                                                §

            DEFENDANT EXPERIAN INFORMATION SOLUTIONS, INC.’S
                   ANSWER AND AFFIRMATIVE DEFENSES


       NOW COMES Defendant Experian Information Solutions, Inc. (“Experian”), by and

through its undersigned counsel, and answers Plaintiff Teri Lynn Hinkle’s Complaint (the

“Complaint”) as follows:

                                        JURISDICTION1

       1.      In response to paragraph 1 of the Complaint, Experian admits that Plaintiff has

alleged jurisdiction based on 15 U.S.C. § 1681p and 28 U.S.C. § 1331. Experian states that this

is a legal conclusion which is not subject to denial or admission.

       2.      In response to paragraph 2 of the Complaint, Experian states that this is a legal

conclusion which is not subject to denial or admission. To the extent a response is required,

Experian is without knowledge or information sufficient to form a belief as to the truth of the

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         For ease of reference, Experian incorporated into its Answer the primary headings used
by Plaintiff in the Complaint, although Experian does not adopt, either expressly or by
implication, any statements contained in those headings. Experian has also numbered its
paragraphs to mirror the numbering in the Complaint to facilitate review.



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allegations contained in paragraph 2 of the Complaint and, on that basis, denies, generally and

specifically, each and every allegation contained therein.

                                             PARTIES

       3.      In response to paragraph 3 of the Complaint, Experian admits the Plaintiff is Teri

Lynn Hinkle. As to the remaining allegations, Experian does not have knowledge or information

sufficient to form a belief as to the truth of those allegations and, on that basis, denies, generally

and specifically, each and every remaining allegation of paragraph 3 of the Complaint.

       4.      In response to paragraph 4 of the Complaint, Experian admits that it is a consumer

reporting agency as defined by 15 U.S.C. § 1681a(f) with a corporate office at 475 Anton Blvd.,

Costa Mesta, CA 92626.        Except as specifically admitted, Experian denies, generally and

specifically, each and every remaining allegation of paragraph 4 of the Complaint.

       5.      In response to paragraph 5 of the Complaint, Experian is at this time without

knowledge or information sufficient to form a belief as to the truth of the allegations contained

therein and, on that basis, denies, generally and specifically, each and every allegation contained

therein.

       6.      In response to paragraph 6 of the Complaint, Experian is at this time without

knowledge or information sufficient to form a belief as to the truth of the allegations contained

therein and, on that basis, denies, generally and specifically, each and every allegation contained

therein.

                                               Venue

       7.      In response to paragraph 7 of the Complaint, Experian is at this time without

knowledge or information sufficient to form a belief as to the truth of the allegations contained

therein and, on that basis, denies, generally and specifically, each and every allegation contained

therein.


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       8.      In response to paragraph 8 of the Complaint, Experian admits that Plaintiff has

alleged venue in the Western District of North Carolina is proper. Experian states that this is a

legal conclusion which is not subject to denial or admission.

                                 GENERAL ALLEGATIONS

       9.      In response to paragraph 9 of the Complaint, Experian is at this time without

knowledge or information sufficient to form a belief as to the truth of the allegations contained

therein and, on that basis, denies, generally and specifically, each and every allegation contained

therein.

       10.     In response to paragraph 10 of the Complaint, Experian is at this time without

knowledge or information sufficient to form a belief as to the truth of the allegations contained

therein and, on that basis, denies, generally and specifically, each and every allegation contained

therein.

       11.     In response to paragraph 11 of the Complaint, Experian is at this time without

knowledge or information sufficient to form a belief as to the truth of the allegations contained

therein and, on that basis, denies, generally and specifically, each and every allegation contained

therein.

       12.     In response to paragraph 12 of the Complaint, Experian is at this time without

knowledge or information sufficient to form a belief as to the truth of the allegations contained

therein and, on that basis, denies, generally and specifically, each and every allegation contained

therein.

       13.     In response to paragraph 13 of the Complaint, Experian is at this time without

knowledge or information sufficient to form a belief as to the truth of the allegations contained

therein and, on that basis, denies, generally and specifically, each and every allegation contained

therein.


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       14.     In response to paragraph 14 of the Complaint, Experian is at this time without

knowledge or information sufficient to form a belief as to the truth of the allegations contained

therein and, on that basis, denies, generally and specifically, each and every allegation contained

therein.

       15.     In response to paragraph 15 of the Complaint, Experian admits that some

allegations contained therein purport to describe what the Fair Credit Reporting Act requires.

Experian affirmatively states that the Fair Credit Reporting Act speaks for itself and, on that

basis, denies any allegations of paragraph 15 inconsistent therewith.       As to the remaining

allegations about Plaintiff’s actions, Experian does not have knowledge or information sufficient

to form a belief as to the truth of those allegations and, on that basis, denies, generally and

specifically, each and every remaining allegation of paragraph 15 of the Complaint.

       16.     In response to paragraph 16 of the Complaint, Experian is at this time without

knowledge or information sufficient to form a belief as to the truth of the allegations contained

therein and, on that basis, denies, generally and specifically, each and every allegation contained

therein.

       17.     In response to paragraph 17 of the Complaint, Experian is at this time without

knowledge or information sufficient to form a belief as to the truth of the allegations contained

therein and, on that basis, denies, generally and specifically, each and every allegation contained

therein.

       18.     In response to paragraph 18 of the Complaint, Experian is at this time without

knowledge or information sufficient to form a belief as to the truth of the allegations contained

therein and, on that basis, denies, generally and specifically, each and every allegation contained

therein.




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       19.     In response to paragraph 19 of the Complaint, Experian admits that some

allegations contained therein purport to describe what the Fair Credit Reporting Act requires.

Experian affirmatively states that the Fair Credit Reporting Act speaks for itself and, on that

basis, denies any allegations of paragraph 19 inconsistent therewith.             As the remaining

allegations regarding the parties’ actions, Experian does not have knowledge or information

sufficient to form a belief as to the truth of those allegations and, on that basis, denies, generally

and specifically, each and every remaining allegation of paragraph 15 of the Complaint.

       20.     In response to paragraph 20 of the Complaint, Experian admits that some

allegations contained therein purport to describe what the Fair Credit Reporting Act requires.

Experian affirmatively states that the Fair Credit Reporting Act speaks for itself and, on that

basis, denies any allegations of paragraph 20 inconsistent therewith.             As the remaining

allegations regarding the parties’ actions, Experian does not have knowledge or information

sufficient to form a belief as to the truth of those allegations and, on that basis, denies, generally

and specifically, each and every remaining allegation of paragraph 20 of the Complaint.

       21.     In response to paragraph 21 of the Complaint, Experian admits that some

allegations contained therein purport to describe what the Fair Credit Reporting Act requires.

Experian affirmatively states that the Fair Credit Reporting Act speaks for itself and, on that

basis, denies any allegations of paragraph 21 inconsistent therewith.             As the remaining

allegations regarding the parties’ actions, Experian does not have knowledge or information

sufficient to form a belief as to the truth of those allegations and, on that basis, denies, generally

and specifically, each and every remaining allegation of paragraph 21 of the Complaint.

       22.     In response to paragraph 22 of the Complaint, Experian is at this time without

knowledge or information sufficient to form a belief as to the truth of the allegations contained




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therein and, on that basis, denies, generally and specifically, each and every allegation contained

therein.

       23.     In response to paragraph 23 of the Complaint, Experian is at this time without

knowledge or information sufficient to form a belief as to the truth of the allegations contained

therein and, on that basis, denies, generally and specifically, each and every allegation contained

therein.

       24.     In response to paragraph 24 of the Complaint, Experian is at this time without

knowledge or information sufficient to form a belief as to the truth of the allegations contained

therein and, on that basis, denies, generally and specifically, each and every allegation contained

therein.

       25.     In response to paragraph 25 of the Complaint, Experian admits that some

allegations contained therein purport to describe what the Fair Credit Reporting Act requires.

Experian affirmatively states that the Fair Credit Reporting Act speaks for itself and, on that

basis, denies any allegations of paragraph 25 inconsistent therewith.       As to the remaining

allegations, Experian does not have knowledge or information sufficient to form a belief as to the

truth of those allegations and, on that basis, denies, generally and specifically, each and every

remaining allegation of paragraph 25 of the Complaint.

       26.     In response to paragraph 26 of the Complaint, Experian is at this time without

knowledge or information sufficient to form a belief as to the truth of the allegations contained

therein and, on that basis, denies, generally and specifically, each and every allegation contained

therein.

       27.     In response to paragraph 27 of the Complaint, Experian states that some of the

allegations are legal conclusions that are not subject to denial or admission. As to the other




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allegations in paragraph 27, Experian does not have knowledge or information sufficient to form

a belief as to the truth of those allegations and, on that basis, denies, generally and specifically,

each and every remaining allegation of paragraph 27 of the Complaint.

       28.     In response to paragraph 28 of the Complaint, Experian denies that it has acted

contrary to the FCRA and denies, generally and specifically, each and every remaining allegation

contained in paragraph 28 relating to Experian. As to the allegations regarding other entities,

Experian does not have knowledge or information sufficient to form a belief as to the truth of

those allegations and, on that basis, denies, generally and specifically, each and every remaining

allegation of paragraph 28 of the Complaint.

       29.     In response to paragraph 29 of the Complaint, Experian denies that it has violated

the FCRA and denies that it is liable to Plaintiff for any alleged damages. As to the allegations

in paragraph 29 of the Complaint that relate to the other defendants and Plaintiff’s actions,

Experian does not have knowledge or information sufficient to form a belief as to the truth of

those allegations and, on that basis, denies, generally and specifically, each and every remaining

allegation of paragraph 29 of the Complaint.

       30.     In response to paragraph 30 of the Complaint, Experian states that the allegations

contained therein are legal conclusions not subject to admission or denial. To the extent a

response is required, Experian is at this time without knowledge or information sufficient to form

a belief as to the truth of the allegations contained in paragraph 30 of the Complaint and, on that

basis, denies, generally and specifically, each and every allegation contained therein.




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                                            COUNT I

          31.   In response to paragraph 31 of the Complaint, Experian admits those limited

allegations that were previously admitted and denies those allegations that were previously

denied.

          32.   In response to paragraph 32 of the Complaint, Experian states that the allegations

contained therein are legal conclusions not subject to admission or denial. To the extent a

response is required, Experian is without knowledge or information sufficient to form a belief as

to the truth of the allegations contained in paragraph 32 of the Complaint and, on that basis,

denies, generally and specifically, each and every allegation contained therein.

          33.   In response to paragraph 33 of the Complaint, Experian admits that it is a

consumer reporting agency as defined by 15 U.S.C. § 1681a(f).

          34.   In response to paragraph 34 of the Complaint, Experian states that the allegations

contained therein are legal conclusions not subject to admission or denial. To the extent a

response is required, Experian denies, generally and specifically, each and every allegation

contained therein.

          In response to the unnumbered paragraph following paragraph 34 of the Complaint

beginning “WHEREFORE,” Experian denies, generally and specifically, that Plaintiff is entitled

to judgment against Experian or to any relief whatsoever from Experian.

                                           COUNT II

          35.   In response to paragraph 35 of the Complaint, Experian admits those limited

allegations that were previously admitted and denies those allegations that were previously

denied.

          36.   In response to paragraph 36 of the Complaint, Experian states that the allegations

contained therein are legal conclusions not subject to admission or denial. To the extent a


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response is required, Experian is without knowledge or information sufficient to form a belief as

to the truth of the allegations contained in paragraph 32 of the Complaint and, on that basis,

denies, generally and specifically, each and every allegation contained therein.

          37.   In response to paragraph 37 of the Complaint, Experian states that the allegations

contained therein are legal conclusions not subject to admission or denial. To the extent a

response is required, Experian is without knowledge or information sufficient to form a belief as

to the truth of the allegations contained in paragraph 37 of the Complaint and, on that basis,

denies, generally and specifically, each and every allegation contained therein.

          38.   In response to paragraph 38 of the Complaint, Experian states that the allegations

contained therein are legal conclusions not subject to admission or denial. To the extent a

response is required, Experian is without knowledge or information sufficient to form a belief as

to the truth of the allegations contained in paragraph 38 of the Complaint and, on that basis,

denies, generally and specifically, each and every allegation contained therein.

          In response to the unnumbered paragraph following paragraph 38 of the Complaint

beginning “WHEREFORE,” Experian does not have knowledge or information sufficient to

form a belief as to the truth of those allegations and, on that basis, denies, generally and

specifically, each and every allegation contained therein.

                                           COUNT III

          39.   In response to paragraph 39 of the Complaint, Experian admits those limited

allegations that were previously admitted and denies those allegations that were previously

denied.

          40.   In response to paragraph 40 of the Complaint, Experian states that the allegations

contained therein are legal conclusions not subject to admission or denial. To the extent a

response is required, Experian is without knowledge or information sufficient to form a belief as


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to the truth of the allegations contained in paragraph 40 of the Complaint and, on that basis,

denies, generally and specifically, each and every allegation contained therein.

       41.     In response to paragraph 41 of the Complaint, Experian states that the allegations

contained therein are legal conclusions not subject to admission or denial. To the extent a

response is required, Experian is without knowledge or information sufficient to form a belief as

to the truth of the allegations contained in paragraph 41 of the Complaint and, on that basis,

denies, generally and specifically, each and every allegation contained therein.

       42.     In response to paragraph 42 of the Complaint, Experian states that the allegations

contained therein are legal conclusions not subject to admission or denial. To the extent a

response is required, Experian is without knowledge or information sufficient to form a belief as

to the truth of the allegations contained in paragraph 42 of the Complaint and, on that basis,

denies, generally and specifically, each and every allegation contained therein.

       In response to the unnumbered paragraph following paragraph 42 of the Complaint

beginning “WHEREFORE,” Experian does not have knowledge or information sufficient to

form a belief as to the truth of those allegations and, on that basis, denies, generally and

specifically, each and every allegation contained therein.

                               DEMAND FOR TRIAL BY JURY

       In response to the unnumbered paragraph at the bottom of page 7 of the Complaint,

Experian admits that Plaintiff has demanded trial by jury on all issues triable.

       To the extent not admitted herein, all material allegations of the Complaint are denied.

                                           DEFENSES

       1.      In further response to the Complaint, Experian hereby pleads the following

defenses and affirmative defenses on information and belief. By asserting the defenses set forth

below, Experian does not allege or admit that it has the burden of proof and/or the burden of


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persuasion with respect to any of these defenses. Experian reserves the right to amend its answer

and/or assert additional defenses should investigation and discovery, which could not be

completed before the deadline for filing an answer, indicate such defenses are warranted.

       2.      The Complaint herein, and each cause of action thereof, fails to set forth facts

sufficient to state a claim upon which relief may be granted against Experian and further fails to

state facts sufficient to entitle Plaintiff to the relief sought, or to any other relief whatsoever from

Experian.

       3.      Plaintiff has failed to mitigate her damages.

       4.      Experian is informed and believes and thereon alleges that any alleged damages

sustained by Plaintiff were, at least in part, caused by the actions of Plaintiff herself and resulted

from Plaintiff’s own negligence, which equaled or exceeded any alleged negligence or

wrongdoing by Experian.

       5.      Any damages which Plaintiff may have suffered, which Experian continues to

deny, were the direct and proximate result of the conduct of Plaintiff. Therefore, Plaintiff is

estopped and barred from recovery of any damages.

       6.      The Complaint, and each claim for relief therein that seeks equitable relief, are

barred by the doctrine of unclean hands.

       7.      Experian reserves the right to assert additional affirmative defenses at such time

and to such extent as warranted by discovery and the factual developments in this case.


       WHEREFORE, Defendant Experian Information Solutions, Inc. prays as follows:

       (A)     That Plaintiff take nothing by virtue of the Complaint herein and that this action

               be dismissed in its entirety;

       (B)     For costs of suit and attorneys’ fees herein incurred; and



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      (C)    For such other and further relief as the Court may deem just and proper.

Dated: February 12, 2018                      Respectfully submitted,

                                              s/ Nora F. Sullivan
                                              Nora F. Sullivan
                                              N.C. State Bar No. 43284
                                              ELLIS & WINTERS LLP
                                              P.O. Box 33550
                                              Raleigh, NC 27636
                                              Telephone: (919) 865-7000
                                              Facsimile: (919) 865-7010
                                              nora.sullivan@elliswinters.com


                                              s/ Autumn Hamit Patterson
                                              Autumn Hamit Patterson
                                              Texas Bar No. 24092947
                                              JONES DAY
                                              2727 North Harwood Street
                                              Dallas, TX 75201
                                              Telephone: (214) 969-2966
                                              Facsimile: (214) 969-5100
                                              ahpatterson@jonesday.com
                                              (pro hac vice application pending)

                                              Counsel for Defendant
                                              Experian Information Solutions, Inc.




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                                 CERTIFICATE OF SERVICE

        I hereby certify that on February 12, 2018, I electronically filed a true and correct copy of

the foregoing Defendant Experian Information Solutions, Inc.’s Answer and Affirmative

Defenses with the Clerk of the District Court of the Western District of North Carolina by using

the CM/ECF system, which will send notification to the parties and attorneys of record in the

case who are registered CM/ECF users.


                                                  s/ Nora F. Sullivan
                                                  Nora F. Sullivan
                                                  N.C. State Bar No. 43284
                                                  ELLIS & WINTERS LLP
                                                  P.O. Box 33550
                                                  Raleigh, NC 27636
                                                  Telephone: (919) 865-7000
                                                  Facsimile: (919) 865-7010
                                                  nora.sullivan@elliswinters.com
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